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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                             §   Chapter 7
                                                   §
ALEXANDER E. JONES                                 §   Case No. 22-33553
                                                   §
         Debtor.                                   §


   SUMMARY COVER SHEET TO THE FINAL FEE APPLICATION OF CROWE &
     DUNLEVY, P.C. AS CO-COUNSEL TO THE DEBTOR FOR THE PERIOD
           FROM DECEMBER 02, 2022, THROUGH JUNE 14, 2024


   Name of Applicant:                                              CROWE & DUNLEVY, P.C.
   Applicant’s Role in Case:                                Co-Counsel to the Debtor
   Date Order of Employment Signed:                                  January 20, 2023
                                                           Beginning Date               End Date
   Time period covered by this Application                   12/02/2022                 06/14/2024
   Time period(s) covered by prior Applications:             12/02/2022                 12/31/2023
   Total fees requested in this Application:                                              $4,337,267.50
   Total professional fees requested in this Application                                  $4,086,508.00
   Total professional hours covered by this Application:                                        7,870.5
   Average hourly rate for professionals:                                                      $519.22
   Total paraprofessional fees requested in this Application:                              $250,759.50
   Total actual paraprofessional hours covered by this Application:                                896.9
   Average hourly rate for paraprofessionals:                                                  $279.58
   Reimbursable expenses sought in this application:                                       $140,050.79
   Total to be Paid to Priority Unsecured Creditors:                                                 N/A
   Anticipated % Dividend to Priority Unsecured Creditors:                                           N/A
   Total to be Paid to General Unsecured Creditors:                                                  N/A
   Anticipated % Dividend to General Unsecured Creditors:                                            N/A
   Date of Confirmation Hearing:                                                                     N/A
   Indicate whether plan has been confirmed:                                                         No.




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
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In re:                                           §    Chapter 7
                                                 §
ALEXANDER E. JONES                               §    Case No. 22-33553
                                                 §
         Debtor.                                 §

                FINAL FEE APPLICATION OF CROWE & DUNLEVY, P.C.
                 AS CO-COUNSEL TO THE DEBTOR FOR THE PERIOD
                  FROM DECEMBER 02, 2022, THROUGH JUNE 14, 2024
         If you object to the relief requested, you must respond in writing. Unless
         otherwise directed by the Court, you must file your response electronically at
         https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
         was filed. If you do not have electronic filing privileges, you must file a written
         objection that is actually received by the clerk within twenty-one days from
         the date this application was filed. Otherwise, the Court may treat the pleading
         as unopposed and grant the relief requested.
         Pursuant to §§ 327, 330, and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

Local Rules”) Crowe & Dunlevy, P.C. (“C&D”), as co-counsel to the Debtor, hereby files its Final

Fee Application of Crowe & Dunlevy, P.C. Co-Counsel for the Debtor for Allowance and Payment

of Fees and Expenses for the Period From December 02, 2022 Through June 14, 2024 (the

“Application”).

                                 I.      RELIEF REQUESTED

         1.     C&D requests that the Court enter an order allowing C&D’s compensation for

professional services rendered during December 02, 2022, through June 14, 2024 (the “Application

Period”) for (a) $4,337,267.50 for professional fees and services provided during the Application

Period, and (b) $140,050.79 for reimbursement of actual and necessary expenses incurred by C&D.




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                                    II.     JURISDICTION

       2.      The United States Bankruptcy Court for the Southern District Texas (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant

to 28 U.S.C. § 157(b).

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The basis for the relief requested herein is § 330 of the Bankruptcy Code,

Bankruptcy Rule 2016, and Bankruptcy Local Rule 2016-1.

                           III.   PROCEDURAL BACKGROUND

       5.      On December 02, 2022, Alexander E. Jones (the “Debtor”) filed a voluntary

petition for relief under Chapter 11 of title 11 of the Bankruptcy Code. The Debtor is an employee

of Free Speech Systems, LLC (“FSS”). FSS filed its voluntary petition for relief under chapter 11

of the Bankruptcy Code on July 29, 2022.

       6.      On December 20, 2022, the Debtor filed his Application for Entry of an Order

Authorizing the Retention and Employment of Crowe & Dunlevy, P.C. as Debtor’s Co-Counsel

Effective as of the Petition Date (the “Retention Application”) [Dkt. No. 69].

       7.      On January 20, 2023, the Court entered its Order Granting Application for Entry

of an Order Authorizing the Retention and Employment of Crowe & Dunlevy, P.C. as Debtor’s

Co-Counsel Effective as of the Petition Date (the “Retention Order”) [Dkt. No. 104].

       8.      After approximately eighteen months of attempting to work through the Chapter 11

process and reach an agreement with creditors that would result in a successful plan of

reorganization, the Debtor realized that such an agreed path forward would be impossible. Thus,

on or about June 14, 2024, at the Debtor’s request, the Court entered an Order converting the

Debtor’s Chapter 11 Case to one under Chapter 7 of the Bankruptcy Code [Dkt. No. 708].




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        9.         C&D performed services throughout the Application Period for which it is seeking

compensation on behalf of the Debtor and his estate, and not on behalf of any committee, creditor,

or other entity.

        10.        Except as set forth in the Retention Application regarding payments paid to C&D

prior to the petition date from The Missouri779384 Trust, C&D has received no post-petition

retainers and no promises for payment from any other source other than the Debtor for services

provided or to be provided in any capacity whatsoever in connection with this Case.

        11.        Pursuant to Bankruptcy Rule 2016(b), C&D has not shared, nor has C&D agreed

to share (a) compensation it has received or may receive with any other party or person other than

the partners, counsel, and associates of C&D or (b) any compensation another person or party has

received or may receive.

        12.        On January 20, 2023, the Court entered the Order Granting Motion for Entry of an

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Chapter 11 Professionals [Dkt. No. 106] (the “Interim Compensation Order”), setting forth the

procedures for Court approved professionals, including C&D, to serve monthly fee statements

(each, a “Monthly Fee Statement”) on certain parties that include a detailed statement of services

rendered and expenses incurred by each professional for that particular month.

        13.        For the Application Period, C&D has filed the following interim fee applications

(the “Interim Fee Applications”) and the following Monthly Fee Statements:

                   a. Crowe & Dunlevy, P.C.’s First Monthly Fee Statement for Compensation of

                      Services Rendered and Reimbursement for Expenses as Co-Counsel to the

                      Debtor for the Period from December 2, 2022 Through December 31, 2022 (the

                      “First Monthly Fee Statement”) [Dkt. No. 128];




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           b. Crowe & Dunlevy, P.C.’s Second Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from January 1, 2023 Through January 31, 2023 (the

              “Second Monthly Fee Statement”) [Dkt. No. 193];

           c. Crowe & Dunlevy, P.C.’s Third Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from February 1, 2023 Through February 28, 2023 (the

              “Third Monthly Fee Statement”) [Dkt. No. 235];

           d. Crowe & Dunlevy, P.C.’s Fourth Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from March 1, 2023 Through March 31, 2023 (the

              “Fourth Monthly Fee Statement”) [Dkt. No. 253];

           e. First Interim Fee Application of Crowe & Dunlevy, P.C. as Co-Counsel to the

              Debtor for the Fee Period from December 2, 2022 Through May 15, 2023 (the

              “First Interim Fee Application”) [Dkt. No. 309];

           f. Crowe & Dunlevy, P.C.’s Fifth Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from May 16, 2023 Through May 31, 2023 (the “May

              Monthly Fee Statement”) [Dkt. No. 427];

           g. Crowe & Dunlevy, P.C.’s Sixth Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from June 1, 2023 Through June 30, 2023 (the “Sixth

              Monthly Fee Statement”) [Dkt. No. 428];




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           h. Crowe & Dunlevy, P.C.’s Seventh Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from July 1, 2023 Through July 31, 2023 (the “Seventh

              Monthly Fee Statement”) [Dkt. No. 429];

           i. Crowe & Dunlevy, P.C.’s Eighth Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from August 1, 2023 Through August 31, 2023 (the

              “Eighth Monthly Fee Statement”) [Dkt. No. 454];

           j. Crowe & Dunlevy, P.C.’s Ninth Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from September 1, 2023 Through September 30, 2023

              (the “Ninth Monthly Fee Statement”) [Dkt. No. 486];

           k. Crowe & Dunlevy, P.C.’s Tenth Monthly Fee Statement for Compensation of

              Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from October 1, 2023 Through November 30, 2023 (the

              “Tenth Monthly Fee Statement”) [Dkt. No. 532];

           l. Crowe & Dunlevy, P.C.’s Eleventh Monthly Fee Statement for Compensation

              of Services Rendered and Reimbursement for Expenses as Co-Counsel to the

              Debtor for the Period from December 1, 2023 Through December 31, 2023 (the

              “Eleventh Monthly Fee Statement”) [Dkt. No. 599];

           m. Second Interim Fee Application of Crowe & Dunlevy, P.C. as Co-Counsel to

              the Debtor for the Fee Period from May 16, 2023 Through December 31, 2023

              (the “Second Interim Fee Application”) [Dkt. No. 600];




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                n. Crowe & Dunlevy, P.C.’s Twelfth Monthly Fee Statement for Compensation of

                   Services Rendered and Reimbursement for Expenses as Co-Counsel to the

                   Debtor for the Period from January 1, 2024 Through February 29, 2024 (the

                   “Twelfth Monthly Fee Statement”) [Dkt. No. 626];

                o. Crowe & Dunlevy, P.C.’s Thirteenth Monthly Fee Statement for Compensation

                   of Services Rendered and Reimbursement of Expenses as Co-Counsel to the

                   Debtor for the Period from March 1, 2024 Through March 31, 2024 (the

                   “Thirteenth Monthly Fee Statement”) [Dkt. No. 660]; and

                p. Crowe & Dunlevy, P.C.’s Fourteenth Monthly Fee Statement for Compensation

                   of Services Rendered and Reimbursement of Expenses as Co-Counsel to the

                   Debtor for the Period from April 1, 2024 Through May 31, 2024 (the

                   “Fourteenth Monthly Fee Statement”) [Dkt. No. 682].

        14.     Each Interim Fee Application was granted without objection and has been paid in

full to date.

        15.     C&D has submitted monthly fee statements for the period following the Second

Interim Fee Application and has received payments on 80% of the fees and 100% of the expenses

requested in those monthly fee statements.

        16.     Attached hereto as Exhibit “A” is a statement detailing legal services rendered to

the Debtor by C&D during the Application Period. The statement itemizes the services rendered

in a format that reflects a description of each service entry, the amount of time spent in rendering

the service, the date the service was performed, who performed the service, and the hourly rate of

the person performing the service. Exhibit “A” reflects reasonable time and expenses incurred in

this case for the Application Period.




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       17.     An analysis of the twelve factors affecting the reasonableness of attorneys’ fees as

set forth in In the Matter of First Colonial Corp. of America, 544 F. 2d 1291 (5th Cir. 1977), cert.

denied, 97 S. Ct. 1696 (1977), aids the Court’s determination of matters affecting compensation.

               a. Customary fee. The fees charged are customary and usual fees charged by C&D

                   and similar firms in the Houston geographical area for the services rendered by

                   the attorneys and paraprofessionals involved.

               b. Contingent nature of fee. This was not a factor in this case.

               c. Time limitations imposed by the client or other circumstances. Time was a

                   resource that had to be utilized carefully in this case. C&D was required to work

                   around the Debtor’s recording schedule, often requiring in-person meetings.

                   C&D was also required to carefully allocate resources in order to attempt to

                   field the vast number of time-consuming requests from Plaintiffs and UCC.

               d. Experience, reputation, and ability of attorneys. C&D is well-recognized in the

                   community for its legal expertise and abilities in bankruptcy and litigation

                   matters.

               e. Undesirability of the case. This was an undeniable factor in this case. C&D

                   endured sloppy and inaccurate press reporting, unprofessional and unfounded

                   accusations and assumptions from opposing parties and an unreliable and

                   unlevel playing field because of the public’s perception of the Debtor.

               f. Nature, length, and professional relationship with client. C&D has an ongoing

                   professional relationship with the Debtor.

               g. Awards in similar cases. In C&D’s experience, the fees requested in this Fee

                   Application are comparable and likely less than those in cases similar in subject




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                   matter and complexity. However, it is unlikely the Court will find many

                   “similar” cases.

               h. Results obtained. C&D interviewed dozens of fact witnesses, including current

                   and former FSS employees, participated in the Rule 2004 Examinations of

                   multiple individuals, including former and current FSS employees and business

                   or marketing affiliates, collected, organized, and reviewed tens of thousands of

                   documents and records from multiple sources, assisted in the preparation of the

                   Debtor’s various motions and parties’ opposition to same, as well as

                   participating in two mediations and the drafting and negotiation of multiple

                   iterations of plans of reorganization. Falling short of a successful reorganization

                   in this case was not for a lack of trying or good faith on the part of the Debtor

                   or C&D.

 IV.     REIMBURSEMENT FOR THE PREPARATION OF THE FEE APPLICATION

       18.     Under the Fifth Circuit decision of In re First Colonial Corporation of America,

544 F.2d 1291 (5th Cir.) cert. denied 97 S. Ct. 1696 (1977), and subsequent Fifth Circuit decisions

detailed applications for compensation are mandated. In 1980, in Rose Pass Mines v. Howard, 615

F.2d 1088, the Fifth Circuit condoned the practice of compensating counsel for its efforts in

providing the courts and creditors with the required detailed applications.

       WHEREFORE, C&D respectfully requests that the Court enter an order (a) allowing and

awarding to C&D, on a final basis, the full amount of total fees and expenses requested in the

combined total amount of $4,337,267.50 for services rendered and $140,050.79 for expenses

incurred from the December 2, 2022 through the June 14, 2024, as further set forth herein; (b)

authorizing and directing the Chapter 7 Trustee to pay C&D all unpaid portions of the fees and




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expenses in the approximate amount of $370,774.45; and (d) granting C&D such other and further

relief to which it may be justly entitled.

Dated: June 28, 2024

                                             /s/ Christina W. Stephenson
                                             CROWE & DUNLEVY, P.C.
                                             Vickie L. Driver
                                             State Bar No. 24026886
                                             Christina W. Stephenson
                                             State Bar No. 24049535
                                             2525 McKinnon St., Suite 425
                                             Dallas, TX 75201
                                             Telephone: 737.218.6187
                                             Email: dallaseservice@crowedunlevy.com

                                             ATTORNEYS FOR DEBTOR
                                             ALEXANDER E. JONES


                               CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of June, 2024 a copy of the foregoing was served via

the Court’s ECF system upon all parties receiving notice through same.



                                             /s/ Christina W. Stephenson
                                             Christina W. Stephenson




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